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                       UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,
          Plaintiff                           Criminal No. 21-524 (JHR)

v.

JOHN GRIER III,
         Defendant




             BRIEF OF DEFENDANT JOHN GRIER, III, IN SUPPORT
            OF MOTION IN LIMINE TO PRECLUDE THE SUBMISSION OF
           THE INDICTMENT TO THE JURY, OR, IN THE ALTERNATIVE,
                    TO HAVE THE INDICTMENT REDACTED.


        The     defendant,    John   Grier,   III,      moves    to       preclude   the

indictment against him from being submitted to the jury during its

deliberations.        In   the   alternative,     the    extraneous,         one-sided

narrative contained in the indictment must be excised before it is

given to the jury.




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                               BACKGROUND

     In the above-captioned case, the Grand Jury in and for the

District of New Jersey indicted John Grier, III, for the crimes of

Deprivation of Rights Under Color of Law, in contravention of 18

U.S.C. § 242 (count 1); and Falsification of Records in a Federal

Investigation, in contravention of 18 U.S.C. § 1519 (count 2).

Although Mr. Grier faces only two charges, the indictment against

him is six-pages long. It is littered with superfluous language

solely meant to sway the reader toward the side of the government.

Before the indictment even mentions Count 1, it contains a lengthy,

one-sided   narrative   in   subsections    titled   “Background”     (four

paragraphs) and “The Offense” (14 paragraphs). And before the

indictment mentions Count 2, it incorporates the 14 paragraphs

contained in the section titled “The Offense” that precedes the

previous charge, and it adds three more paragraphs of conclusive

narrative about John Grier’s alleged guilt. Presentation of this

document to the jury during its deliberations would emphatically

deprive defendant of his Constitutional right to a fair trial under

the Sixth Amendment.




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                                    LEGAL ARGUMENT

                                         POINT I

             THE INDICTMENT IS NOT EVIDENCE AND IT SHOULD
             NOT BE SUBMITTED TO THE JURY DURING ITS
             DELIBERATIONS;  IN   THE   ALTERNATIVE,  THE
             INDICTMENT MUST BE REDACTED BY REMOVING THE
             EXTRANEOUS, ONE-SIDED NARRATIVE CONTAINED
             THEREIN.

       A. The Indictment Should Not Be Submitted To The Jury.

       Rule 7(c)(1) of the Federal Rules of Criminal Procedure

requires that an indictment provide a "plain, concise, and definite

written statement of the essential facts constituting the offense

charged." For many offenses, the indictment can merely track the

elements     of    the   offense.   In   more     complex   cases,       "it   is   not

sufficient that the indictment shall charge the offence in the

same generic terms as in the definition; but it must state the

species, -- it must descend to particulars." United States v.

Cruikshank, 92 U.S. (2 Otto) 542, 558 (1876) (quotation omitted);

see, e.g., Russell v. United States, 369 U.S. 749, 765 (1962).

Even    in   the    most   complicated       cases,      however,    there     is   no

requirement that an indictment contain a detailed recitation of

the    government's      case.   Instead,    to    the    extent    an    indictment

sufficient under Rule 7(c)(1) and the Fifth and Sixth Amendments

does not adequately inform the defendant of the charges he or she

faces or allow him or her to assert the protections of the Double

Jeopardy Clause, the court can order the government to provide a


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bill of particulars under Rule 7(f). See, e.g., United States v.

Addonizio, 451 F.2d 49, 64 (3d Cir. 1971).

     Over the past two decades, however, the government has found

a use for indictments beyond merely informing the defendant of the

charges and permitting him or her to assert the protections of

double jeopardy. The government now routinely uses "speaking"

indictments to serve as an advocacy tool in the jury room. Courts

permit this practice based on the assumption that the prejudice

from a speaking indictment can be cured by instructing the jury

that the indictment is not evidence. See, e.g., Third Circuit Model

Criminal   Jury    Instructions,     Instruction     3.07    (2017)    ("An

indictment is not evidence of anything, and you should not give

any weight to the fact that [the defendant] has been indicted in

making your decision in this case."). But the efficacy of such

instructions is doubtful. No one would think that an instruction

of this kind would cure the prejudice to the prosecution if, for

example, a transcript of the defense closing argument were placed

in the jury room during deliberations. There is no more reason to

think that it cures the prejudice to the defense from placing a

speaking indictment in the jury room.

     Rule 7(d) of the Federal Rules of Criminal Procedure permits

the defense to move to strike surplusage from the indictment. On

its face, this rule might seem a useful tool to mitigate the

prejudice from a speaking indictment. In practice, however, Rule

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7(d) provides scant protection. Allegations may be stricken from

the indictment only if they are "both irrelevant (or immaterial)

and prejudicial." United States v. Hedgepeth, 434 F.3d 609, 612

(3d Cir. 2006) (emphasis added). Under this standard, a district

court might refuse to strike even the most inflammatory and

prejudicial allegations, as long as they meet the broad relevancy

standard.

     A speaking indictment in the jury room thus presents                    a

significant risk of misuse. The means available to prevent that

misuse -- jury instructions and motions to strike under Rule 7(d)

-- are likely inadequate in most cases. No compelling need warrants

incurring this risk. See, e.g., United States v. Roy, 473 F.3d

1232, 1237 n.2 (D.C. Cir. 2007) (the practice of submitting the

indictment to the jury "often carries significant risks and has

few corresponding benefits"). The district court can convey the

nature of the charges to the jury through jury instructions. See,

e.g., United States v. Esso, 684 F.3d 347, 351 n.5 (2d Cir. 2012)

("In most cases, the judge's instructions regarding the issues to

be addressed by the jury and the elements of the offenses charged,

which may include a reading of the legally effective portions of

the indictment, will more than suffice to apprise the jury of the

charges   before   them.").   Submitting    the   government's    detailed

statement of its     version of the case, devoid of exculpatory

evidence or any defense perspective, serves no purpose, is unfair

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to   the   defendant,   and    constitutes         an    abuse   of    the     court's

discretion.

      B. If This Court Decides That The Indictment Should Be Given
      To The Jury During Its Deliberations, All Of The Language
      Outside Of The Actual Charges Must Be Redacted.

      In this case, the indictment's narrative of the Government's

case draws a straight line to a guilty verdict. It avoids any

mention of the defense theory or any extenuating circumstances. It

provides    the   government    an     opportunity        to   present       its   case

unburdened by the rights of a defendant in a criminal case.                         The

government’s      narrative    in   the       indictment    is   unchallenged         by

inconvenient      roadblocks    that      might     be     presented     via       legal

representation, the cross-examination of witnesses, etc. Defendant

has argued in § A, infra, that there is no legitimate reason for

the indictment to be provided to the jury during its deliberations.

However, should this Court disagree with that position, it is urged

to at least purge the indictment of its superfluous, highly

prejudicial language.

      The Third Circuit in United States v. Todaro, 448 F.2d 64, 66

(3d Cir. 1971), held that the decision to allow “jurors to have a

copy of the indictment with them during their deliberations ... is

a matter within the discretion of the District Judge, subject to

a limiting instruction that the indictment does not constitute

evidence, but is an accusation only.” Later, in United States v.

Pungitore, 910 F.2d 1084, 1142 n.83 (3d Cir. 1990), the Third

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Circuit recognized that the District Court has the power to redact

the indictment if doing so would be appropriate to avoid prejudice

to the defendant. Accord United States v. Roy, 473 F.3d 1232, 1237

n.2 (D.C. Cir. 2007) (stating that trial court may redact an

indictment before submitting it to the jury).

     In United States v. Fattah, 902 F.3d 197, 258 (3d. Cir. 2018),

several defendants “objected to the District Court's decision to

give the jury a redacted copy of the indictment to use during its

deliberations.”    The    defendants       argued   “that   the    indictment's

narrative of the Government's case set out a roadmap that omitted

any averments relating to the defense theory and allowed the

Government   to   yet    again   present     its    case.   To    buttress   that

argument, [defendants] Nicholas and Brand cite the testimony of

Juror 12, who described the jury's initial deliberations and

alleged that the jurors viewed the indictment as evidence.” Id. at

258-59.   In denying relief to the defendants, the Fattah court

cited the decisions in Todaro and Pungitore, condoning the practice

of redacting a speaking indictment like the one at issue in the

matter at bar. 902 F.3d at 259. Concluding that sending the

indictment to the jury was not an abuse of the trial judge’s

discretion, the appellate court noted that: “While both Nicholas

and Brand objected in general terms to the District Court's

decision to provide the indictment to the jury, they have not

directed us to any specific request to redact the information they

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now claim is prejudicial. And the District Court provided a

limiting   instruction    on   four       occasions   during   its   charge,

repeatedly emphasizing that the indictment was not evidence.” Id.

     Defendant Grier is herein specifically requesting that all of

the prejudicial information be redacted from the indictment. He

submits that all of the extraneous, one-sided narrative contained

in the indictment must be redacted before that indictment is given

to the jury.   Only then could he possibly receive a fair trial.




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                               CONCLUSION

    For the reasons set forth above, Defendant John Grier, III,

respectfully requests that the Court preclude the submission of

the indictment to the jury. In the alternative, the government’s

narrative contained in the indictment must be removed before the

indictment is provided to the jury.



                            BIANCAMANO LAW, LLC
                            Attorneys for Defendant John Grier, III



Dated:                      BY: _/s/ Stacy Ann Biancamano_____
                                 Stacy Ann Biancamano, Esq.




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